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                                    EXHIBIT B

                                  BVI Claim Form




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                                                              Fees Paid:4037.68
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